Case: 4:24-cv-00636-RWS      Doc. #: 19    Filed: 06/21/24   Page: 1 of 3 PageID #: 717




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

THE STATE OF ARKANSAS, et al.,             )
                                           )
           Plaintiffs,                     )
                                           )
      v.                                   )         Case No. 4:24 CV 636 RWS
                                           )
UNITED STATES DEPT. OF EDUC.,              )
et al.,                                    )
                                           )
           Defendants.                     )

                          MEMORANDUM AND ORDER

      This matter is before the Court upon review of the file and plaintiffs’ motion

for preliminary injunction. ECF 9. Defendants have filed an opposition to the

motion. ECF 18. Although defendants purport to request oral argument on the

motion with a designation on the caption of their opposition brief which reads

“Oral Argument Requested Pursuant to Local Rule 4.02,” this designation does not

comply with Local Rule 4.02, which requires such request be made by motion at

the time the brief is filed. For their part, plaintiffs communicated their position

that no oral argument on the motion was required by emailing my judicial

assistant, a practice prohibited by Local Rule 4.04. Plaintiffs also indicated that

their reply brief in support of injunction would be filed today.

      Going forward, the Court expects the parties to comply with the Local and

Federal Rules of Civil Procedure. Unless specifically directed otherwise, any
Case: 4:24-cv-00636-RWS      Doc. #: 19    Filed: 06/21/24   Page: 2 of 3 PageID #: 718




communication with the Court regarding this case shall be by written motion only

as directed by Local Rule 4.04. The Court does not believe oral argument is

necessary, so none will be scheduled. Neither side has requested an evidentiary

hearing.

      Although no hearing will be scheduled, after thorough review of the parties’

briefs, the Court will order the parties to brief additional issues. Both parties shall

address the issue of standing. Defendants are also ordered to clarify seemingly

conflicting statements in their brief regarding the application of the Final Rule to

restrooms. Defendants shall explain whether the Final Rule applies to restrooms,

and if so, how. Defendants shall also explain whether the Final Rule applies to

locker rooms, and if so, how.

      Both parties are required to file proposed findings of fact and conclusions of

law either granting (in the case of plaintiffs) or denying (in the case of defendants)

the motion for preliminary injunction. The proposed findings of fact and

conclusions of law shall be detailed, contain appropriate citations to the Final Rule

and its location in the docket (i.e., include the ECF document and page number in

addition to the Rule citation), as well as appropriate citations to relevant legal

authorities. The proposed orders shall address all aspects of consideration for

granting or denying preliminary injunctive relief, including standing. A word




                                           2
Case: 4:24-cv-00636-RWS     Doc. #: 19    Filed: 06/21/24   Page: 3 of 3 PageID #: 719




version of the proposed orders shall also be emailed directly to my judicial

assistant.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiffs shall file their reply brief in

support of preliminary injunction by June 21, 2024, and the parties shall file their

briefs and proposed orders, and email word versions of their proposed orders to my

judicial assistant, in compliance with this Memorandum and Order no later than

noon on July 12, 2024. No extensions of time will be granted.

       IT IS FURTHER ORDERED that the proposed orders are not subject to

the Court’s page limitation requirements, and the parties are granted leave to file

briefs of up to 20 pages long.

       IT IS FURTHER ORDERED that plaintiffs shall file copies of all orders

either granting or denying preliminary injunctive relief in any similar case

challenging the Final Rule within two (2) days of their issuance. The parties shall

file copies of all such orders that have already been entered by no later than noon

on June 22, 2024.




                                           RODNEY W. SIPPEL
                                           UNITED STATES DISTRICT JUDGE

Dated this 21st day of June, 2024.

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